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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

        Plaintiff,

                v.                                        CIVIL NO. 19-1930 (PAD)

 FUNDS IN THE AMOUNT OF
 $53,082,824.19 IN U.S. CURRENCY,

        Defendant.



                                            ORDER
       Upon the United States’ “Motion Requesting Issuance of Warrant of Arrest in Rem and

Seizure” (Docket No. 4), and after having been duly advised of all the facts in the case, the court

ORDERS that a Warrant of Arrest in Rem be issued, and that the original be delivered to the United

States Attorney for the District of Puerto Rico, who will make arrangements for its service

according to law. The property to be arrested is:

       a.      xxx-x7689 – Merrill Lynch Address: #15 Second St., Suite 210, Guaynabo,
               PR 00968, up to $10,000,000.00;

       b.      xxx-x7059 – Merrill Lynch Address: 225 Liberty St., 41st FL, New York,
               NY 10281, up to $5,000,000.00; and

       c.      Federal Reserve Bank of New York Account #xxxx-x228-6, up to
               $38,082,824.19.

       SO ORDERED.

       In San Juan, Puerto Rico, this 8th day of October, 2019.

                                                      s/Pedro A. Delgado-Hernández
                                                      PEDRO A. DELGADO-HERNÁNDEZ
                                                      United States District Judge
